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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA          *
                                  *    CRIMINAL NO.
       v.                         *
                                  *    (18 U.S.C. §§ 2, 371, 1349, 1028A)
INTERNET RESEARCH AGENCY LLC      *
   A/K/A MEDIASINTEZ LLC A/K/A    *
   GLAVSET LLC A/K/A MIXINFO      *
   LLC A/K/A AZIMUT LLC A/K/A     *
   NOVINFO LLC,                   *
CONCORD MANAGEMENT AND            *
   CONSULTING LLC,                *
CONCORD CATERING,                 *
YEVGENIY VIKTOROVICH              *
   PRIGOZHIN,                     *
MIKHAIL IVANOVICH BYSTROV,        *
MIKHAIL LEONIDOVICH BURCHIK       *
   A/K/A MIKHAIL ABRAMOV,         *
ALEKSANDRA YURYEVNA               *
   KRYLOVA,                       *
ANNA VLADISLAVOVNA                *
   BOGACHEVA,                     *
SERGEY PAVLOVICH POLOZOV,         *
MARIA ANATOLYEVNA BOVDA           *
   A/K/A MARIA ANATOLYEVNA        *
   BELYAEVA,                      *
ROBERT SERGEYEVICH BOVDA,         *
DZHEYKHUN NASIMI OGLY             *
   ASLANOV A/K/A JAYHOON          *
   ASLANOV A/K/A JAY ASLANOV,     *
VADIM VLADIMIROVICH               *
   PODKOPAEV,                     *
GLEB IGOREVICH VASILCHENKO,       *
IRINA VIKTOROVNA KAVERZINA,       *
   and                            *
VLADIMIR VENKOV.               *******


           Defendants.
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                                         INDICTMENT

The Grand Jury for the District of Columbia charges:

                                           Introduction

1.     The United States of America, through its departments and agencies, regulates the activities

of foreign individuals and entities in and affecting the United States in order to prevent, disclose,

and counteract improper foreign influence on U.S. elections and on the U.S. political system. U.S.

law bans foreign nationals from making certain expenditures or financial disbursements for the

purpose of influencing federal elections. U.S. law also bars agents of any foreign entity from

engaging in political activities within the United States without first registering with the Attorney

General. And U.S. law requires certain foreign nationals seeking entry to the United States to

obtain a visa by providing truthful and accurate information to the government. Various federal

agencies, including the Federal Election Commission, the U.S. Department of Justice, and the U.S.

Department of State, are charged with enforcing these laws.

2.     Defendant INTERNET RESEARCH AGENCY LLC (“ORGANIZATION”) is a Russian

organization engaged in operations to interfere with elections and political processes. Defendants

MIKHAIL IVANOVICH BYSTROV, MIKHAIL LEONIDOVICH BURCHIK, ALEKSANDRA

YURYEVNA KRYLOVA, ANNA VLADISLAVOVNA BOGACHEVA, SERGEY PAVLOVICH

POLOZOV, MARIA ANATOLYEVNA BOVDA, ROBERT SERGEYEVICH BOVDA,

DZHEYKHUN NASIMI OGLY ASLANOV, VADIM VLADIMIROVICH PODKOPAEV, GLEB

IGOREVICH VASILCHENKO, IRINA VIKTOROVNA KAVERZINA, and VLADIMIR

VENKOV worked in various capacities to carry out Defendant ORGANIZATION’s interference

operations targeting the United States. From in or around 2014 to the present, Defendants

knowingly and intentionally conspired with each other (and with persons known and unknown to


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the Grand Jury) to defraud the United States by impairing, obstructing, and defeating the lawful

functions of the government through fraud and deceit for the purpose of interfering with the U.S.

political and electoral processes, including the presidential election of 2016.

3.     Beginning as early as 2014, Defendant ORGANIZATION began operations to interfere

with the U.S. political system, including the 2016 U.S. presidential election.             Defendant

ORGANIZATION received funding for its operations from Defendant YEVGENIY

VIKTOROVICH PRIGOZHIN and companies he controlled, including Defendants CONCORD

MANAGEMENT AND CONSULTING LLC and CONCORD CATERING (collectively

“CONCORD”). Defendants CONCORD and PRIGOZHIN spent significant funds to further the

ORGANIZATION’s operations and to pay the remaining Defendants, along with other uncharged

ORGANIZATION employees, salaries and bonuses for their work at the ORGANIZATION.

4.     Defendants, posing as U.S. persons and creating false U.S. personas, operated social media

pages and groups designed to attract U.S. audiences. These groups and pages, which addressed

divisive U.S. political and social issues, falsely claimed to be controlled by U.S. activists when, in

fact, they were controlled by Defendants. Defendants also used the stolen identities of real U.S.

persons to post on ORGANIZATION-controlled social media accounts. Over time, these social

media accounts became Defendants’ means to reach significant numbers of Americans for

purposes of interfering with the U.S. political system, including the presidential election of 2016.

5.     Certain Defendants traveled to the United States under false pretenses for the purpose of

collecting intelligence to inform Defendants’ operations. Defendants also procured and used

computer infrastructure, based partly in the United States, to hide the Russian origin of their

activities and to avoid detection by U.S. regulators and law enforcement.




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6.      Defendant ORGANIZATION had a strategic goal to sow discord in the U.S. political

system, including the 2016 U.S. presidential election. Defendants posted derogatory information

about a number of candidates, and by early to mid-2016, Defendants’ operations included

supporting the presidential campaign of then-candidate Donald J. Trump (“Trump Campaign”) and

disparaging Hillary Clinton. Defendants made various expenditures to carry out those activities,

including buying political advertisements on social media in the names of U.S. persons and

entities. Defendants also staged political rallies inside the United States, and while posing as U.S.

grassroots entities and U.S. persons, and without revealing their Russian identities and

ORGANIZATION affiliation, solicited and compensated real U.S. persons to promote or disparage

candidates. Some Defendants, posing as U.S. persons and without revealing their Russian

association, communicated with unwitting individuals associated with the Trump Campaign and

with other political activists to seek to coordinate political activities.

7.      In order to carry out their activities to interfere in U.S. political and electoral processes

without detection of their Russian affiliation, Defendants conspired to obstruct the lawful functions

of the United States government through fraud and deceit, including by making expenditures in

connection with the 2016 U.S. presidential election without proper regulatory disclosure; failing

to register as foreign agents carrying out political activities within the United States; and obtaining

visas through false and fraudulent statements.

                                            COUNT ONE

                            (Conspiracy to Defraud the United States)

8.     Paragraphs 1 through 7 of this Indictment are re-alleged and incorporated by reference as if

fully set forth herein.

9.     From in or around 2014 to the present, in the District of Columbia and elsewhere,




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Defendants, together with others known and unknown to the Grand Jury, knowingly and

intentionally conspired to defraud the United States by impairing, obstructing, and defeating the

lawful functions of the Federal Election Commission, the U.S. Department of Justice, and the U.S.

Department of State in administering federal requirements for disclosure of foreign involvement

in certain domestic activities.

                                           Defendants

10.    Defendant      INTERNET      RESEARCH         AGENCY       LLC     (Агентство     Интернет

Исследований) is a Russian organization engaged in political and electoral interference

operations. In or around July 2013, the ORGANIZATION registered with the Russian government

as a Russian corporate entity. Beginning in or around June 2014, the ORGANIZATION obscured

its conduct by operating through a number of Russian entities, including Internet Research LLC,

MediaSintez LLC, GlavSet LLC, MixInfo LLC, Azimut LLC, and NovInfo LLC. Starting in or

around 2014, the ORGANIZATION occupied an office at 55 Savushkina Street in St. Petersburg,

Russia. That location became one of the ORGANIZATION’s operational hubs from which

Defendants and other co-conspirators carried out their activities to interfere in the U.S. political

system, including the 2016 U.S. presidential election.

       a.      The ORGANIZATION employed hundreds of individuals for its online operations,

               ranging from creators of fictitious personas to technical and administrative support.

               The ORGANIZATION’s annual budget totaled the equivalent of millions of U.S.

               dollars.

       b.      The ORGANIZATION was headed by a management group and organized into

               departments, including: a graphics department; a data analysis department; a

               search-engine optimization (“SEO”) department; an information-technology (“IT”)




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               department to maintain the digital infrastructure used in the ORGANIZATION’s

               operations; and a finance department to budget and allocate funding.

       c.      The ORGANIZATION sought, in part, to conduct what it called “information

               warfare against the United States of America” through fictitious U.S. personas on

               social media platforms and other Internet-based media.

       d.      By in or around April 2014, the ORGANIZATION formed a department that went

               by various names but was at times referred to as the “translator project.” This

               project focused on the U.S. population and conducted operations on social media

               platforms such as YouTube, Facebook, Instagram, and Twitter. By approximately

               July 2016, more than eighty ORGANIZATION employees were assigned to the

               translator project.

       e.      By in or around May 2014, the ORGANIZATION’s strategy included interfering

               with the 2016 U.S. presidential election, with the stated goal of “spread[ing] distrust

               towards the candidates and the political system in general.”

11.    Defendants CONCORD MANAGEMENT AND CONSULTING LLC (Конкорд

Менеджмент и Консалтинг) and CONCORD CATERING are related Russian entities with

various Russian government contracts. CONCORD was the ORGANIZATION’s primary source

of funding for its interference operations.       CONCORD controlled funding, recommended

personnel, and oversaw ORGANIZATION activities through reporting and interaction with

ORGANIZATION management.

       a.      CONCORD funded the ORGANIZATION as part of a larger CONCORD-funded

               interference operation that it referred to as “Project Lakhta.” Project Lakhta had

               multiple components, some involving domestic audiences within the Russian




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              Federation and others targeting foreign audiences in various countries, including

              the United States.

      b.      By in or around September 2016, the ORGANIZATION’s monthly budget for

              Project Lakhta submitted to CONCORD exceeded 73 million Russian rubles (over

              1,250,000 U.S. dollars), including approximately one million rubles in bonus

              payments.

      c.      To conceal its involvement, CONCORD labeled the monies paid to the

              ORGANIZATION for Project Lakhta as payments related to software support and

              development. To further conceal the source of funds, CONCORD distributed

              monies to the ORGANIZATION through approximately fourteen bank accounts

              held in the names of CONCORD affiliates, including Glavnaya Liniya LLC,

              Merkuriy LLC, Obshchepit LLC, Potentsial LLC, RSP LLC, ASP LLC, MTTs

              LLC, Kompleksservis LLC, SPb Kulinariya LLC, Almira LLC, Pishchevik LLC,

              Galant LLC, Rayteks LLC, and Standart LLC.

12.   Defendant    YEVGENIY        VIKTOROVICH         PRIGOZHIN        (Пригожин      Евгений

Викторович) is a Russian national who controlled CONCORD.

      a.      PRIGOZHIN approved and supported the ORGANIZATION’s operations, and

              Defendants and their co-conspirators were aware of PRIGOZHIN’s role.

      b.      For example, on or about May 29, 2016, Defendants and their co-conspirators,

              through an ORGANIZATION-controlled social media account, arranged for a real

              U.S. person to stand in front of the White House in the District of Columbia under

              false pretenses to hold a sign that read “Happy 55th Birthday Dear Boss.”

              Defendants and their co-conspirators informed the real U.S. person that the sign




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                was for someone who “is a leader here and our boss . . . our funder.” PRIGOZHIN’s

                Russian passport identifies his date of birth as June 1, 1961.

13.     Defendant MIKHAIL IVANOVICH BYSTROV (Быстров Михаил Иванович) joined the

ORGANIZATION by at least in or around February 2014.

        a.      By approximately April 2014, BYSTROV was the general director, the

                ORGANIZATION’s highest-ranking position. BYSTROV subsequently served as

                the head of various other entities used by the ORGANIZATION to mask its

                activities, including, for example, Glavset LLC, where he was listed as that entity’s

                general director.

        b.      In or around 2015 and 2016, BYSTROV frequently communicated with

                PRIGOZHIN about Project Lakhta’s overall operations, including through

                regularly scheduled in-person meetings.

14.     Defendant MIKHAIL LEONIDOVICH BURCHIK (Бурчик Михаил Леонидович)

A/K/A MIKHAIL ABRAMOV joined the ORGANIZATION by at least in or around October

2013.        By approximately March 2014, BURCHIK was the executive director, the

ORGANIZATION’s second-highest ranking position.              Throughout the ORGANIZATION’s

operations to interfere in the U.S political system, including the 2016 U.S. presidential election,

BURCHIK was a manager involved in operational planning, infrastructure, and personnel. In or

around 2016, BURCHIK also had in-person meetings with PRIGOZHIN.

15.     Defendant ALEKSANDRA YURYEVNA KRYLOVA (Крылова Александра Юрьевна)

worked for the ORGANIZATION from at least in or around September 2013 to at least in or around

November 2014. By approximately April 2014, KRYLOVA served as director and was the

ORGANIZATION’s third-highest ranking employee. In 2014, KRYLOVA traveled to the United




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States under false pretenses for the purpose of collecting intelligence to inform the

ORGANIZATION’s operations.

16.    Defendant SERGEY PAVLOVICH POLOZOV (Полозов Сергей Павлович) worked for

the ORGANIZATION from at least in or around April 2014 to at least in or around October 2016.

POLOZOV served as the manager of the IT department and oversaw the procurement of U.S.

servers and other computer infrastructure that masked the ORGANIZATION’s Russian location

when conducting operations within the United States.

17.    Defendant ANNA VLADISLAVOVNA BOGACHEVA (Богачева Анна Владиславовна)

worked for the ORGANIZATION from at least in or around April 2014 to at least in or around

July 2014. BOGACHEVA served on the translator project and oversaw the project’s data analysis

group. BOGACHEVA also traveled to the United States under false pretenses for the purpose of

collecting intelligence to inform the ORGANIZATION’s operations.

18.    Defendant MARIA ANATOLYEVNA BOVDA (Бовда Мария Анатольевна) A/K/A

MARIA ANATOLYEVNA BELYAEVA (“M. BOVDA”) worked for the ORGANIZATION from

at least in or around November 2013 to at least in or around October 2014. M. BOVDA served as

the head of the translator project, among other positions.

19.    Defendant ROBERT SERGEYEVICH BOVDA (Бовда Роберт Сергеевич) (“R.

BOVDA”) worked for the ORGANIZATION from at least in or around November 2013 to at least

in or around October 2014. R. BOVDA served as the deputy head of the translator project, among

other positions. R. BOVDA attempted to travel to the United States under false pretenses for the

purpose of collecting intelligence to inform the ORGANIZATION’s operations but could not

obtain the necessary visa.




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20.    Defendant DZHEYKHUN NASIMI OGLY ASLANOV (Асланов Джейхун Насими

Оглы) A/K/A JAYHOON ASLANOV A/K/A JAY ASLANOV joined the ORGANIZATION by at

least in or around September 2014. ASLANOV served as head of the translator project and

oversaw many of the operations targeting the 2016 U.S. presidential election. ASLANOV was

also listed as the general director of Azimut LLC, an entity used to move funds from CONCORD

to the ORGANIZATION.

21.    Defendant      VADIM       VLADIMIROVICH           PODKOPAEV          (Подкопаев       Вадим

Владимирович) joined the ORGANIZATION by at least in or around June 2014. PODKOPAEV

served as an analyst on the translator project and was responsible for conducting U.S.-focused

research and drafting social media content for the ORGANIZATION.

22.    Defendant GLEB IGOREVICH VASILCHENKO (Васильченко Глеб Игоревич) worked

for the ORGANIZATION from at least in or around August 2014 to at least in or around September

2016. VASILCHENKO was responsible for posting, monitoring, and updating the social media

content of many ORGANIZATION-controlled accounts while posing as U.S. persons or U.S.

grassroots organizations. VASILCHENKO later served as the head of two sub-groups focused on

operations to interfere in the U.S. political system, including the 2016 U.S. presidential election.

23.    Defendant IRINA VIKTOROVNA KAVERZINA (Каверзина Ирина Викторовна) joined

the ORGANIZATION by at least in or around October 2014. KAVERZINA served on the

translator project and operated multiple U.S. personas that she used to post, monitor, and update

social media content for the ORGANIZATION.

24.    Defendant VLADIMIR VENKOV (Венков Владимир) joined the ORGANIZATION by

at least in or around March 2015. VENKOV served on the translator project and operated multiple




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U.S. personas, which he used to post, monitor, and update social media content for the

ORGANIZATION.

                                   Federal Regulatory Agencies

25.    The Federal Election Commission is a federal agency that administers the Federal Election

Campaign Act (“FECA”). Among other things, FECA prohibits foreign nationals from making

any contributions, expenditures, independent expenditures, or disbursements for electioneering

communications. FECA also requires that individuals or entities who make certain independent

expenditures in federal elections report those expenditures to the Federal Election Commission.

The reporting requirements permit the Federal Election Commission to fulfill its statutory duties

of providing the American public with accurate data about the financial activities of individuals

and entities supporting federal candidates, and enforcing FECA’s limits and prohibitions,

including the ban on foreign expenditures.

26.    The U.S. Department of Justice administers the Foreign Agent Registration Act (“FARA”).

FARA establishes a registration, reporting, and disclosure regime for agents of foreign principals

(which includes foreign non-government individuals and entities) so that the U.S. government and

the people of the United States are informed of the source of information and the identity of persons

attempting to influence U.S. public opinion, policy, and law. FARA requires, among other things,

that persons subject to its requirements submit periodic registration statements containing truthful

information about their activities and the income earned from them. Disclosure of the required

information allows the federal government and the American people to evaluate the statements and

activities of such persons in light of their function as foreign agents.

27.    The U.S. Department of State is the federal agency responsible for the issuance of non-

immigrant visas to foreign individuals who need a visa to enter the United States. Foreign




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individuals who are required to obtain a visa must, among other things, provide truthful

information in response to questions on the visa application form, including information about

their employment and the purpose of their visit to the United States.

                                       Object of the Conspiracy

28.       The conspiracy had as its object impairing, obstructing, and defeating the lawful

governmental functions of the United States by dishonest means in order to enable the Defendants

to interfere with U.S. political and electoral processes, including the 2016 U.S. presidential

election.

                                Manner and Means of the Conspiracy

                           Intelligence-Gathering to Inform U.S. Operations

29.       Starting at least in or around 2014, Defendants and their co-conspirators began to track and

study groups on U.S. social media sites dedicated to U.S. politics and social issues. In order to

gauge the performance of various groups on social media sites, the ORGANIZATION tracked

certain metrics like the group’s size, the frequency of content placed by the group, and the level of

audience engagement with that content, such as the average number of comments or responses to

a post.

30.       Defendants and their co-conspirators also traveled, and attempted to travel, to the United

States under false pretenses in order to collect intelligence for their interference operations.

          a.       KRYLOVA and BOGACHEVA, together with other Defendants and co-

                   conspirators, planned travel itineraries, purchased equipment (such as cameras,

                   SIM cards, and drop phones), and discussed security measures (including

                   “evacuation scenarios”) for Defendants who traveled to the United States.

          b.       To enter the United States, KRYLOVA, BOGACHEVA, R. BOVDA, and another

                   co-conspirator applied to the U.S. Department of State for visas to travel. During


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                their application process, KRYLOVA, BOGACHEVA, R. BOVDA, and their co-

                conspirator falsely claimed they were traveling for personal reasons and did not

                fully disclose their place of employment to hide the fact that they worked for the

                ORGANIZATION.

       c.       Only KRYLOVA and BOGACHEVA received visas, and from approximately June

                4, 2014 through June 26, 2014, KRYLOVA and BOGACHEVA traveled in and

                around the United States, including stops in Nevada, California, New Mexico,

                Colorado, Illinois, Michigan, Louisiana, Texas, and New York to gather

                intelligence. After the trip, KRYLOVA and BURCHIK exchanged an intelligence

                report regarding the trip.

       d.       Another co-conspirator who worked for the ORGANIZATION traveled to Atlanta,

                Georgia from approximately November 26, 2014 through November 30, 2014.

                Following the trip, the co-conspirator provided POLOZOV a summary of his trip’s

                itinerary and expenses.

31.    In order to collect additional intelligence, Defendants and their co-conspirators posed as

U.S. persons and contacted U.S. political and social activists. For example, starting in or around

June 2016, Defendants and their co-conspirators, posing online as U.S. persons, communicated

with a real U.S. person affiliated with a Texas-based grassroots organization. During the exchange,

Defendants and their co-conspirators learned from the real U.S. person that they should focus their

activities on “purple states like Colorado, Virginia & Florida.” After that exchange, Defendants

and their co-conspirators commonly referred to targeting “purple states” in directing their efforts.




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                                 Use of U.S. Social Media Platforms

32.    Defendants and their co-conspirators, through fraud and deceit, created hundreds of social

media accounts and used them to develop certain fictitious U.S. personas into “leader[s] of public

opinion” in the United States.

33.    ORGANIZATION employees, referred to as “specialists,” were tasked to create social

media accounts that appeared to be operated by U.S. persons. The specialists were divided into

day-shift and night-shift hours and instructed to make posts in accordance with the appropriate

U.S. time zone. The ORGANIZATION also circulated lists of U.S. holidays so that specialists

could develop and post appropriate account activity. Specialists were instructed to write about

topics germane to the United States such as U.S. foreign policy and U.S. economic issues.

Specialists were directed to create “political intensity through supporting radical groups, users

dissatisfied with [the] social and economic situation and oppositional social movements.”

34.    Defendants and their co-conspirators also created thematic group pages on social media

sites, particularly on the social media platforms Facebook and Instagram. ORGANIZATION-

controlled pages addressed a range of issues, including: immigration (with group names including

“Secured Borders”); the Black Lives Matter movement (with group names including

“Blacktivist”); religion (with group names including “United Muslims of America” and “Army of

Jesus”); and certain geographic regions within the United States (with group names including

“South United” and “Heart of Texas”). By 2016, the size of many ORGANIZATION-controlled

groups had grown to hundreds of thousands of online followers.

35.    Starting at least in or around 2015, Defendants and their co-conspirators began to purchase

advertisements on online social media sites to promote ORGANIZATION-controlled social media

groups, spending thousands of U.S. dollars every month. These expenditures were included in the

budgets the ORGANIZATION submitted to CONCORD.


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36.    Defendants and their co-conspirators also created and controlled numerous Twitter

accounts designed to appear as if U.S. persons or groups controlled them. For example, the

ORGANIZATION created and controlled the Twitter account “Tennessee GOP,” which used the

handle @TEN_GOP. The @TEN_GOP account falsely claimed to be controlled by a U.S. state

political party. Over time, the @TEN_GOP account attracted more than 100,000 online followers.

37.    To measure the impact of their online social media operations, Defendants and their co-

conspirators tracked the performance of content they posted over social media. They tracked the

size of the online U.S. audiences reached through posts, different types of engagement with the

posts (such as likes, comments, and reposts), changes in audience size, and other metrics.

Defendants and their co-conspirators received and maintained metrics reports on certain group

pages and individualized posts.

38.    Defendants and their co-conspirators also regularly evaluated the content posted by

specialists (sometimes referred to as “content analysis”) to ensure they appeared authentic—as if

operated by U.S. persons. Specialists received feedback and directions to improve the quality of

their posts. Defendants and their co-conspirators issued or received guidance on: ratios of text,

graphics, and video to use in posts; the number of accounts to operate; and the role of each account

(for example, differentiating a main account from which to post information and auxiliary accounts

to promote a main account through links and reposts).

                               Use of U.S. Computer Infrastructure

39.    To hide their Russian identities and ORGANIZATION affiliation, Defendants and their co-

conspirators—particularly POLOZOV and the ORGANIZATION’s IT department—purchased

space on computer servers located inside the United States in order to set up virtual private

networks (“VPNs”). Defendants and their co-conspirators connected from Russia to the U.S.-




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based infrastructure by way of these VPNs and conducted activity inside the United States—

including accessing online social media accounts, opening new accounts, and communicating with

real U.S. persons—while masking the Russian origin and control of the activity.

40.    Defendants and their co-conspirators also registered and controlled hundreds of web-based

email accounts hosted by U.S. email providers under false names so as to appear to be U.S. persons

and groups. From these accounts, Defendants and their co-conspirators registered or linked to

online social media accounts in order to monitor them; posed as U.S. persons when requesting

assistance from real U.S. persons; contacted media outlets in order to promote activities inside the

United States; and conducted other operations, such as those set forth below.

                                     Use of Stolen U.S. Identities

41.    In or around 2016, Defendants and their co-conspirators also used, possessed, and

transferred, without lawful authority, the social security numbers and dates of birth of real U.S.

persons without those persons’ knowledge or consent. Using these means of identification,

Defendants and their co-conspirators opened accounts at PayPal, a digital payment service

provider; created false means of identification, including fake driver’s licenses; and posted on

ORGANIZATION-controlled social media accounts using the identities of these U.S. victims.

Defendants and their co-conspirators also obtained, and attempted to obtain, false identification

documents to use as proof of identity in connection with maintaining accounts and purchasing

advertisements on social media sites.

                         Actions Targeting the 2016 U.S. Presidential Election

42.    By approximately May 2014, Defendants and their co-conspirators discussed efforts to

interfere in the 2016 U.S. presidential election. Defendants and their co-conspirators began to

monitor U.S. social media accounts and other sources of information about the 2016 U.S.

presidential election.


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43.    By 2016, Defendants and their co-conspirators used their fictitious online personas to

interfere with the 2016 U.S. presidential election. They engaged in operations primarily intended

to communicate derogatory information about Hillary Clinton, to denigrate other candidates such

as Ted Cruz and Marco Rubio, and to support Bernie Sanders and then-candidate Donald Trump.

       a.       On or about February 10, 2016, Defendants and their co-conspirators internally

                circulated an outline of themes for future content to be posted to

                ORGANIZATION-controlled social media accounts. Specialists were instructed to

                post content that focused on “politics in the USA” and to “use any opportunity to

                criticize Hillary and the rest (except Sanders and Trump—we support them).”

       b.       On or about September 14, 2016, in an internal review of an ORGANIZATION-

                created and controlled Facebook group called “Secured Borders,” the account

                specialist was criticized for having a “low number of posts dedicated to criticizing

                Hillary Clinton” and was told “it is imperative to intensify criticizing Hillary

                Clinton” in future posts.

44.     Certain ORGANIZATION-produced materials about the 2016 U.S. presidential election

used election-related hashtags, including: “#Trump2016,” “#TrumpTrain,” “#MAGA,”

“#IWontProtectHillary,” and “#Hillary4Prison.”        Defendants and their co-conspirators also

established additional online social media accounts dedicated to the 2016 U.S. presidential

election, including the Twitter account “March for Trump” and Facebook accounts “Clinton

FRAUDation” and “Trumpsters United.”

45.    Defendants and their co-conspirators also used false U.S. personas to communicate with

unwitting members, volunteers, and supporters of the Trump Campaign involved in local

community outreach, as well as grassroots groups that supported then-candidate Trump. These




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individuals and entities at times distributed the ORGANIZATION’s materials through their own

accounts via retweets, reposts, and similar means. Defendants and their co-conspirators then

monitored the propagation of content through such participants.

46.    In or around the latter half of 2016, Defendants and their co-conspirators, through their

ORGANIZATION-controlled personas, began to encourage U.S. minority groups not to vote in

the 2016 U.S. presidential election or to vote for a third-party U.S. presidential candidate.

       a.       On or about October 16, 2016, Defendants and their co-conspirators used the

                ORGANIZATION-controlled Instagram account “Woke Blacks” to post the

                following message: “[A] particular hype and hatred for Trump is misleading the

                people and forcing Blacks to vote Killary. We cannot resort to the lesser of two

                devils. Then we’d surely be better off without voting AT ALL.”

       b.       On or about November 3, 2016, Defendants and their co-conspirators purchased an

                advertisement to promote a post on the ORGANIZATION-controlled Instagram

                account “Blacktivist” that read in part: “Choose peace and vote for Jill Stein. Trust

                me, it’s not a wasted vote.”

       c.       By in or around early November 2016, Defendants and their co-conspirators used

                the ORGANIZATION-controlled “United Muslims of America” social media

                accounts to post anti-vote messages such as: “American Muslims [are] boycotting

                elections today, most of the American Muslim voters refuse to vote for Hillary

                Clinton because she wants to continue the war on Muslims in the middle east and

                voted yes for invading Iraq.”

47.    Starting in or around the summer of 2016, Defendants and their co-conspirators also began

to promote allegations of voter fraud by the Democratic Party through their fictitious U.S. personas




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and groups on social media. Defendants and their co-conspirators purchased advertisements on

Facebook to further promote the allegations.

       a.       On or about August 4, 2016, Defendants and their co-conspirators began purchasing

                advertisements that promoted a post on the ORGANIZATION-controlled Facebook

                account “Stop A.I.” The post alleged that “Hillary Clinton has already committed

                voter fraud during the Democrat Iowa Caucus.”

       b.       On or about August 11, 2016, Defendants and their co-conspirators posted that

                allegations of voter fraud were being investigated in North Carolina on the

                ORGANIZATION-controlled Twitter account @TEN_GOP.

       c.       On or about November 2, 2016, Defendants and their co-conspirators used the same

                account to post allegations of “#VoterFraud by counting tens of thousands of

                ineligible mail in Hillary votes being reported in Broward County, Florida.”

                                     Political Advertisements

48.    From at least April 2016 through November 2016, Defendants and their co-conspirators,

while concealing their Russian identities and ORGANIZATION affiliation through false personas,

began to produce, purchase, and post advertisements on U.S. social media and other online sites

expressly advocating for the election of then-candidate Trump or expressly opposing Clinton.

Defendants and their co-conspirators did not report their expenditures to the Federal Election

Commission, or register as foreign agents with the U.S. Department of Justice.

49.   To pay for the political advertisements, Defendants and their co-conspirators established

various Russian bank accounts and credit cards, often registered in the names of fictitious U.S.

personas created and used by the ORGANIZATION on social media. Defendants and their co-

conspirators also paid for other political advertisements using PayPal accounts.




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50.    The political advertisements included the following:

 Approximate
                                              Excerpt of Advertisement
    Date
                   “You know, a great number of black people support us saying that
  April 6, 2016
                   #HillaryClintonIsNotMyPresident”

  April 7, 2016    “I say no to Hillary Clinton / I say no to manipulation”

 April 19, 2016 “JOIN our #HillaryClintonForPrison2016”

 May 10, 2016      “Donald wants to defeat terrorism . . . Hillary wants to sponsor it”

 May 19, 2016      “Vote Republican, vote Trump, and support the Second Amendment!”

 May 24, 2016      “Hillary Clinton Doesn’t Deserve the Black Vote”

  June 7, 2016     “Trump is our only hope for a better future!”

                   “#NeverHillary #HillaryForPrison #Hillary4Prison #HillaryForPrison2016
 June 30, 2016
                   #Trump2016 #Trump #Trump4President”

 July 20, 2016     “Ohio Wants Hillary 4 Prison”

                   “Hillary Clinton has already committed voter fraud during the Democrat Iowa
 August 4, 2016
                   Caucus.”

August 10, 2016 “We cannot trust Hillary to take care of our veterans!”

                   “Among all the candidates Donald Trump is the one and only who can defend
October 14, 2016
                   the police from terrorists.”

October 19, 2016 “Hillary is a Satan, and her crimes and lies had proved just how evil she is.”


                         Staging U.S. Political Rallies in the United States

51.     Starting in approximately June 2016, Defendants and their co-conspirators organized and

coordinated political rallies in the United States. To conceal the fact that they were based in Russia,

Defendants and their co-conspirators promoted these rallies while pretending to be U.S. grassroots

activists who were located in the United States but unable to meet or participate in person.



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Defendants and their co-conspirators did not register as foreign agents with the U.S. Department

of Justice.

52.     In order to build attendance for the rallies, Defendants and their co-conspirators promoted

the events through public posts on their false U.S. persona social media accounts. In addition,

Defendants and their co-conspirators contacted administrators of large social media groups

focused on U.S. politics and requested that they advertise the rallies.

53.     In or around late June 2016, Defendants and their co-conspirators used the Facebook group

“United Muslims of America” to promote a rally called “Support Hillary. Save American Muslims”

held on July 9, 2016 in the District of Columbia. Defendants and their co-conspirators recruited a

real U.S. person to hold a sign depicting Clinton and a quote attributed to her stating “I think Sharia

Law will be a powerful new direction of freedom.” Within three weeks, on or about July 26, 2016,

Defendants and their co-conspirators posted on the same Facebook page that Muslim voters were

“between Hillary Clinton and a hard place.”

54.     In or around June and July 2016, Defendants and their co-conspirators used the Facebook

group “Being Patriotic,” the Twitter account @March_for_Trump, and other ORGANIZATION

accounts to organize two political rallies in New York. The first rally was called “March for

Trump” and held on June 25, 2016. The second rally was called “Down with Hillary” and held on

July 23, 2016.

        a.       In or around June through July 2016, Defendants and their co-conspirators

                 purchased advertisements on Facebook to promote the “March for Trump” and

                 “Down with Hillary” rallies.

        b.       Defendants and their co-conspirators used false U.S. personas to send

                 individualized messages to real U.S. persons to request that they participate in and




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                help organize the rally. To assist their efforts, Defendants and their co-conspirators,

                through false U.S. personas, offered money to certain U.S. persons to cover rally

                expenses.

       c.       On or about June 5, 2016, Defendants and their co-conspirators, while posing as a

                U.S. grassroots activist, used the account @March_for_Trump to contact a

                volunteer for the Trump Campaign in New York. The volunteer agreed to provide

                signs for the “March for Trump” rally.

55.    In or around late July 2016, Defendants and their co-conspirators used the Facebook group

“Being Patriotic,” the Twitter account @March_for_Trump, and other false U.S. personas to

organize a series of coordinated rallies in Florida. The rallies were collectively referred to as

“Florida Goes Trump” and held on August 20, 2016.

       a.       In or around August 2016, Defendants and their co-conspirators used false U.S.

                personas to communicate with Trump Campaign staff involved in local community

                outreach about the “Florida Goes Trump” rallies.

       b.       Defendants and their co-conspirators purchased advertisements on Facebook and

                Instagram to promote the “Florida Goes Trump” rallies.

       c.       Defendants and their co-conspirators also used false U.S. personas to contact

                multiple grassroots groups supporting then-candidate Trump in an unofficial

                capacity. Many of these groups agreed to participate in the “Florida Goes Trump”

                rallies and serve as local coordinators.

       d.       Defendants and their co-conspirators also used false U.S. personas to ask real U.S.

                persons to participate in the “Florida Goes Trump” rallies. Defendants and their

                co-conspirators asked certain of these individuals to perform tasks at the rallies.




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               For example, Defendants and their co-conspirators asked one U.S. person to build

               a cage on a flatbed truck and another U.S. person to wear a costume portraying

               Clinton in a prison uniform. Defendants and their co-conspirators paid these

               individuals to complete the requests.

56.    After the rallies in Florida, Defendants and their co-conspirators used false U.S. personas

to organize and coordinate U.S. political rallies supporting then-candidate Trump in New York and

Pennsylvania. Defendants and their co-conspirators used the same techniques to build and

promote these rallies as they had in Florida, including: buying Facebook advertisements; paying

U.S. persons to participate in, or perform certain tasks at, the rallies; and communicating with real

U.S. persons and grassroots organizations supporting then-candidate Trump.

57.    After the election of Donald Trump in or around November 2016, Defendants and their co-

conspirators used false U.S. personas to organize and coordinate U.S. political rallies in support of

then president-elect Trump, while simultaneously using other false U.S. personas to organize and

coordinate U.S. political rallies protesting the results of the 2016 U.S. presidential election. For

example, in or around November 2016, Defendants and their co-conspirators organized a rally in

New York through one ORGANIZATION-controlled group designed to “show your support for

President-Elect Donald Trump” held on or about November 12, 2016. At the same time,

Defendants and their co-conspirators, through another ORGANIZATION-controlled group,

organized a rally in New York called “Trump is NOT my President” held on or about November

12, 2016. Similarly, Defendants and their co-conspirators organized a rally entitled “Charlotte

Against Trump” in Charlotte, North Carolina, held on or about November 19, 2016.




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                                      Destruction of Evidence

58.    In order to avoid detection and impede investigation by U.S. authorities of Defendants’

operations, Defendants and their co-conspirators deleted and destroyed data, including emails,

social media accounts, and other evidence of their activities.

       a.       Beginning in or around June 2014, and continuing into June 2015, public reporting

                began to identify operations conducted by the ORGANIZATION in the United

                States. In response, Defendants and their co-conspirators deleted email accounts

                used to conduct their operations.

       b.       Beginning in or around September 2017, U.S. social media companies, starting

                with Facebook, publicly reported that they had identified Russian expenditures on

                their platforms to fund political and social advertisements. Facebook’s initial

                disclosure of the Russian purchases occurred on or about September 6, 2017, and

                included a statement that Facebook had “shared [its] findings with US authorities

                investigating these issues.”

       c.       Media reporting on or about the same day as Facebook’s disclosure referred to

                Facebook working with investigators for the Special Counsel’s Office of the U.S.

                Department of Justice, which had been charged with investigating the Russian

                government’s efforts to interfere in the 2016 presidential election.

       d.       Defendants and their co-conspirators thereafter destroyed evidence for the purpose

                of impeding the investigation. On or about September 13, 2017, KAVERZINA

                wrote in an email to a family member: “We had a slight crisis here at work: the

                FBI busted our activity (not a joke). So, I got preoccupied with covering tracks

                together with the colleagues.” KAVERZINA further wrote, “I created all these

                pictures and posts, and the Americans believed that it was written by their people.”


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                                            Overt Acts

59.      In furtherance of the Conspiracy and to effect its illegal object, Defendants and their co-

conspirators committed the following overt acts in connection with the staging of U.S. political

rallies, as well as those as set forth in paragraphs 1 through 7, 9 through 27, and 29 through 58,

which are re-alleged and incorporated by reference as though fully set forth herein.

60.      On or about June 1, 2016, Defendants and their co-conspirators created and purchased

Facebook advertisements for their “March for Trump” rally.

61.      On   or   about    June   4,   2016,   Defendants     and   their   co-conspirators   used

allforusa@yahoo.com, the email address of a false U.S. persona, to send out press releases for the

“March for Trump” rally to New York media outlets.

62.      On or about June 23, 2016, Defendants and their co-conspirators used the Facebook

account registered under a false U.S. persona “Matt Skiber” to contact a real U.S. person to serve

as a recruiter for the “March for Trump” rally, offering to “give you money to print posters and get

a megaphone.”

63.      On or about June 24, 2016, Defendants and their co-conspirators purchased advertisements

on Facebook to promote the “Support Hillary. Save American Muslims” rally.

64.      On or about July 5, 2016, Defendants and their co-conspirators ordered posters for the

“Support Hillary. Save American Muslims” rally, including the poster with the quote attributed to

Clinton that read “I think Sharia Law will be a powerful new direction of freedom.”

65.      On or about July 8, 2016, Defendants and their co-conspirators communicated with a real

U.S. person about the posters they had ordered for the “Support Hillary. Save American Muslims”

rally.




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66.    On or about July 12, 2016, Defendants and their co-conspirators created and purchased

Facebook advertisements for the “Down With Hillary” rally in New York.

67.    On or about July 23, 2016, Defendants and their co-conspirators used the email address of

a false U.S. persona, joshmilton024@gmail.com, to send out press releases to over thirty media

outlets promoting the “Down With Hillary” rally at Trump Tower in New York City.

68.    On or about July 28, 2016, Defendants and their co-conspirators posted a series of tweets

through the false U.S. persona account @March_for_Trump stating that “[w]e’re currently

planning a series of rallies across the state of Florida” and seeking volunteers to assist.

69.    On or about August 2, 2016, Defendants and their co-conspirators used the false U.S.

persona “Matt Skiber” Facebook account to send a private message to a real Facebook account,

“Florida for Trump,” set up to assist then-candidate Trump in the state of Florida. In the first

message, Defendants and their co-conspirators wrote:

               Hi there! I’m a member of Being Patriotic online community. Listen,
               we’ve got an idea. Florida is still a purple state and we need to paint
               it red. If we lose Florida, we lose America. We can’t let it happen,
               right? What about organizing a YUGE pro-Trump flash mob in
               every Florida town? We are currently reaching out to local activists
               and we’ve got the folks who are okay to be in charge of organizing
               their events almost everywhere in FL. However, we still need your
               support. What do you think about that? Are you in?

70.    On or about August 2, 2016, and August 3, 2016, Defendants and their co-conspirators,

through the use of a stolen identity of a real U.S. person, T.W., sent emails to certain grassroots

groups located in Florida that stated in part:

               My name is [T.W.] and I represent a conservative patriot community
               named as “Being Patriotic.” . . . So we’re gonna organize a flash
               mob across Florida to support Mr. Trump. We clearly understand
               that the elections winner will be predestined by purple states. And
               we must win Florida. . . . We got a lot of volunteers in ~25 locations
               and it’s just the beginning. We’re currently choosing venues for each




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               location and recruiting more activists. This is why we ask you to
               spread this info and participate in the flash mob.

71.    On or about August 4, 2016, Defendants and their co-conspirators created and purchased

Facebook advertisements for the “Florida Goes Trump” rally. The advertisements reached over

59,000 Facebook users in Florida, and over 8,300 Facebook users responded to the advertisements

by clicking on it, which routed users to the ORGANIZATION’s “Being Patriotic” page.

72.    Beginning on or about August 5, 2016, Defendants and their co-conspirators used the false

U.S. persona @March_for_Trump Twitter account to recruit and later pay a real U.S. person to

wear a costume portraying Clinton in a prison uniform at a rally in West Palm Beach.

73.    Beginning on or about August 11, 2016, Defendants and their co-conspirators used the false

U.S. persona “Matt Skiber” Facebook account to recruit a real U.S. person to acquire signs and a

costume depicting Clinton in a prison uniform.

74.    On or about August 15, 2016, Defendants and their co-conspirators received an email at

one of their false U.S. persona accounts from a real U.S. person, a Florida-based political activist

identified as the “Chair for the Trump Campaign” in a particular Florida county. The activist

identified two additional sites in Florida for possible rallies. Defendants and their co-conspirators

subsequently used their false U.S. persona accounts to communicate with the activist about

logistics and an additional rally in Florida.

75.    On or about August 16, 2016, Defendants and their co-conspirators used a false U.S.

persona Instagram account connected to the ORGANIZATION-created group “Tea Party News”

to purchase advertisements for the “Florida Goes Trump” rally.

76.    On or about August 18, 2016, the real “Florida for Trump” Facebook account responded to

the false U.S. persona “Matt Skiber” account with instructions to contact a member of the Trump

Campaign (“Campaign Official 1”) involved in the campaign’s Florida operations and provided



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Campaign Official 1’s email address at the campaign domain donaldtrump.com.                      On

approximately the same day, Defendants and their co-conspirators used the email address of a false

U.S. persona, joshmilton024@gmail.com, to send an email to Campaign Official 1 at that

donaldtrump.com email account, which read in part:

               Hello [Campaign Official 1], [w]e are organizing a state-wide event
               in Florida on August, 20 to support Mr. Trump. Let us introduce
               ourselves first. “Being Patriotic” is a grassroots conservative online
               movement trying to unite people offline. . . . [W]e gained a huge lot
               of followers and decided to somehow help Mr. Trump get elected.
               You know, simple yelling on the Internet is not enough. There should
               be real action. We organized rallies in New York before. Now we’re
               focusing on purple states such as Florida.

The email also identified thirteen “confirmed locations” in Florida for the rallies and requested the

campaign provide “assistance in each location.”

77.    On or about August 18, 2016, Defendants and their co-conspirators sent money via

interstate wire to another real U.S. person recruited by the ORGANIZATION, using one of their

false U.S. personas, to build a cage large enough to hold an actress depicting Clinton in a prison

uniform.

78.    On or about August 19, 2016, a supporter of the Trump Campaign sent a message to the

ORGANIZATION-controlled “March for Trump” Twitter account about a member of the Trump

Campaign (“Campaign Official 2”) who was involved in the campaign’s Florida operations and

provided Campaign Official 2’s email address at the domain donaldtrump.com. On or about the

same    day,   Defendants     and   their   co-conspirators    used    the   false   U.S.   persona

joshmilton024@gmail.com account to send an email to Campaign Official 2 at that

donaldtrump.com email account.

79.    On or about August 19, 2016, the real “Florida for Trump” Facebook account sent another

message to the false U.S. persona “Matt Skiber” account to contact a member of the Trump



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Campaign (“Campaign Official 3”) involved in the campaign’s Florida operations. On or about

August 20, 2016, Defendants and their co-conspirators used the “Matt Skiber” Facebook account

to contact Campaign Official 3.

80.    On or about August 19, 2016, Defendants and their co-conspirators used the false U.S.

persona “Matt Skiber” account to write to the real U.S. person affiliated with a Texas-based

grassroots organization who previously had advised the false persona to focus on “purple states

like Colorado, Virginia & Florida.” Defendants and their co-conspirators told that U.S. person,

“We were thinking about your recommendation to focus on purple states and this is what we’re

organizing in FL.” Defendants and their co-conspirators then sent a link to the Facebook event

page for the Florida rallies and asked that person to send the information to Tea Party members in

Florida. The real U.S. person stated that he/she would share among his/her own social media

contacts, who would pass on the information.

81.    On or about August 24, 2016, Defendants and their co-conspirators updated an internal

ORGANIZATION list of over 100 real U.S. persons contacted through ORGANIZATION-

controlled false U.S. persona accounts and tracked to monitor recruitment efforts and requests.

The list included contact information for the U.S. persons, a summary of their political views, and

activities they had been asked to perform by Defendants and their co-conspirators.

82.    On or about August 31, 2016, Defendants and their co-conspirators, using a U.S. persona,

spoke by telephone with a real U.S. person affiliated with a grassroots group in Florida. That

individual requested assistance in organizing a rally in Miami, Florida. On or about September 9,

2016, Defendants and their co-conspirators sent the group an interstate wire to pay for materials

needed for the Florida rally on or about September 11, 2016.




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83.     On or about August 31, 2016, Defendants and their co-conspirators created and purchased

Facebook advertisements for a rally they organized and scheduled in New York for September 11,

2016.

84.     On or about September 9, 2016, Defendants and their co-conspirators, through a false U.S.

persona, contacted the real U.S. person who had impersonated Clinton at the West Palm Beach

rally. Defendants and their co-conspirators sent that U.S. person money via interstate wire as an

inducement to travel from Florida to New York and to dress in costume at another rally they

organized.

85.     On or about September 22, 2016, Defendants and their co-conspirators created and

purchased Facebook advertisements for a series of rallies they organized in Pennsylvania called

“Miners for Trump” and scheduled for October 2, 2016.

        All in violation of Title 18, United States Code, Section 371.

                                          COUNT TWO

                     (Conspiracy to Commit Wire Fraud and Bank Fraud)

86.     Paragraphs 1 through 7, 9 through 27, and 29 through 85 of this Indictment are re-alleged

and incorporated by reference as if fully set forth herein.

87.     From in or around 2016 through present, in the District of Columbia and elsewhere,

Defendants INTERNET RESEARCH AGENCY LLC, DZHEYKHUN NASIMI OGLY

ASLANOV, and GLEB IGOREVICH VASILCHENKO, together with others known and

unknown to the Grand Jury, knowingly and intentionally conspired to commit certain offenses

against the United States, to wit:

        a.       to knowingly, having devised and intending to devise a scheme and artifice to

                 defraud, and to obtain money and property by means of false and fraudulent




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                pretenses, representations, and promises, transmit and cause to be transmitted, by

                means of wire communications in interstate and foreign commerce, writings, signs,

                signals, pictures, and sounds, for the purposes of executing such scheme and

                artifice, in violation of Title 18, United States Code, Section 1343; and

       b.       to knowingly execute and attempt to execute a scheme and artifice to defraud a

                federally insured financial institution, and to obtain monies, funds, credits, assets,

                securities and other property from said financial institution by means of false and

                fraudulent pretenses, representations, and promises, all in violation of Title 18,

                United States Code, Section 1344.

                                     Object of the Conspiracy

88.    The conspiracy had as its object the opening of accounts under false names at U.S. financial

institutions and a digital payments company in order to receive and send money into and out of

the United States to support the ORGANIZATION’s operations in the United States and for self-

enrichment.

                              Manner and Means of the Conspiracy

89.    Beginning in at least 2016, Defendants and their co-conspirators used, without lawful

authority, the social security numbers, home addresses, and birth dates of real U.S. persons without

their knowledge or consent. Using these means of stolen identification, Defendants and their co-

conspirators opened accounts at a federally insured U.S. financial institution (“Bank 1”), including

the following accounts:




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               Approximate Date        Account Name       Means of Identification

                                                           Social Security Number
                  June 16, 2016             T.B.
                                                                Date of Birth
                                                           Social Security Number
                  July 21, 2016             A.R.
                                                                Date of Birth
                                                           Social Security Number
                  July 27, 2016             T.C.
                                                                Date of Birth
                                                           Social Security Number
                 August 2, 2016             T.W.
                                                                Date of Birth

90.    Defendants and their co-conspirators also used, without lawful authority, the social security

numbers, home addresses, and birth dates of real U.S. persons to open accounts at PayPal, a digital

payments company, including the following accounts:

                                     Initials of Identity
               Approximate Date                           Means of Identification
                                        Theft Victim
                                                           Social Security Number
                  June 16, 2016             T.B.
                                                                Date of Birth
                                                           Social Security Number
                  July 21, 2016             A.R.
                                                                Date of Birth
                                                           Social Security Number
                 August 2, 2016             T.W.
                                                                Date of Birth

               November 11, 2016            J.W.                Home Address

                January 18, 2017            V.S.           Social Security Number


Defendants and their co-conspirators also established other accounts at PayPal in the names of

false and fictitious U.S. personas. Some personas used to register PayPal accounts were the same

as the false U.S. personas used in connection with the ORGANIZATION’s social media accounts.

91.    Defendants and their co-conspirators purchased credit card and bank account numbers from

online sellers for the unlawful purpose of evading security measures at PayPal, which used account

numbers to verify a user’s identity. Many of the bank account numbers purchased by Defendants


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and their co-conspirators were created using the stolen identities of real U.S. persons. After

purchasing the accounts, Defendants and their co-conspirators submitted these bank account

numbers to PayPal.

92.      On or about the dates identified below, Defendants and their co-conspirators obtained and

used the following fraudulent bank account numbers for the purpose of evading PayPal’s security

measures:

                         Card/Bank Account        Financial         Email Used to Acquire
  Approximate Date
                              Number             Institution          Account Number

       June 13, 2016        xxxxxxxxx8902            Bank 2      wemakeweather@gmail.com

       June 16, 2016          xxxxxx8731             Bank 1         allforusa@yahoo.com

       July 21, 2016          xxxxxx2215             Bank 3         antwan_8@yahoo.com

      August 2, 2016          xxxxxx5707             Bank 1        xtimwaltersx@gmail.com

      October 18, 2016      xxxxxxxxx5792            Bank 4    unitedvetsofamerica@gmail.com

      October 18, 2016      xxxxxxxxx4743            Bank 4         patriototus@gmail.com

  November 11, 2016         xxxxxxxxx2427            Bank 4       beautifullelly@gmail.com

  November 11, 2016         xxxxxxxxx7587            Bank 5       staceyredneck@gmail.com

  November 11, 2016         xxxxxxxx7590             Bank 5        ihatecrime1@gmail.com

  November 11, 2016         xxxxxxxx1780             Bank 6       staceyredneck@gmail.com

  November 11, 2016         xxxxxxxx1762             Bank 6        ihatecrime1@gmail.com

  December 13, 2016         xxxxxxxx6168             Bank 6        thetaylorbrooks@aol.com

      March 30, 2017        xxxxxxxxx6316            Bank 3        wokeaztec@outlook.com

      March 30, 2017          xxxxxx9512             Bank 3        wokeaztec@outlook.com



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93.        Additionally, and in order to maintain their accounts at PayPal and elsewhere, including

online cryptocurrency exchanges, Defendants and their co-conspirators purchased and obtained

false identification documents, including fake U.S. driver’s licenses. Some false identification

documents obtained by Defendants and their co-conspirators used the stolen identities of real U.S.

persons, including U.S. persons T.W. and J.W.

94.        After opening the accounts at Bank 1 and PayPal, Defendants and their co-conspirators

used them to receive and send money for a variety of purposes, including to pay for certain

ORGANIZATION expenses. Some PayPal accounts were used to purchase advertisements on

Facebook promoting ORGANIZATION-controlled social media accounts. The accounts were also

used to pay other ORGANIZATION-related expenses such as buttons, flags, and banners for

rallies.

95.        Defendants and their co-conspirators also used the accounts to receive money from real

U.S. persons in exchange for posting promotions and advertisements on the ORGANIZATION-

controlled social media pages. Defendants and their co-conspirators typically charged certain U.S.

merchants and U.S. social media sites between 25 and 50 U.S. dollars per post for promotional

content on their popular false U.S. persona accounts, including Being Patriotic, Defend the 2nd,

and Blacktivist.

           All in violation of Title 18, United States Code, Section 1349.

                               COUNTS THREE THROUGH EIGHT

                                     (Aggravated Identity Theft)

96.    Paragraphs 1 through 7, 9 through 27, and 29 through 85, and 89 through 95 of this

Indictment are re-alleged and incorporated by reference as if fully set forth herein.

97.    On or about the dates specified below, in the District of Columbia and elsewhere,



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Defendants INTERNET RESEARCH AGENCY LLC, DZHEYKHUN NASIMI OGLY

ASLANOV, GLEB IGOREVICH VASILCHENKO, IRINA VIKTOROVNA KAVERZINA, and

VLADIMIR VENKOV did knowingly transfer, possess, and use, without lawful authority, a

means of identification of another person during and in relation to a felony violation enumerated

in 18 U.S.C. § 1028A(c), to wit, wire fraud and bank fraud, knowing that the means of

identification belonged to another real person:

                                         Initials of Identity
           Count Approximate Date                             Means of Identification
                                            Theft Victim
                                                              Social Security Number
             3        June 16, 2016               T.B.
                                                                   Date of Birth
                                                              Social Security Number
             4        July 21, 2016               A.R.
                                                                   Date of Birth
                                                              Social Security Number
             5        July 27, 2016               T.C.
                                                                   Date of Birth
                                                              Social Security Number
             6       August 2, 2016               T.W.
                                                                   Date of Birth

             7      January 18, 2017              V.S.        Social Security Number

                                                                   Home Address
             8        May 19, 2017                J.W.
                                                                   Date of Birth

       All in violation of Title 18, United States Code, Sections 1028A(a)(1) and 2.

                                FORFEITURE ALLEGATION

98.   Pursuant to Federal Rule of Criminal Procedure 32.2, notice is hereby given to Defendants

that the United States will seek forfeiture as part of any sentence in accordance with Title 18,

United States Code, Sections 981(a)(1)(C) and 982(a)(2), and Title 28, United States Code, Section

2461(c), in the event of Defendants’ convictions under Count Two of this Indictment. Upon

conviction of the offense charged in Count Two, Defendants INTERNET RESEARCH AGENCY

LLC, DZHEYKHUN NASIMI OGLY ASLANOV, and GLEB IGOREVICH VASILCHENKO




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shall forfeit to the United States any property, real or personal, which constitutes or is derived from

proceeds traceable to the offense of conviction. Upon conviction of the offenses charged in Counts

Three through Eight, Defendants INTERNET RESEARCH AGENCY LLC, DZHEYKHUN

NASIMI OGLY ASLANOV, GLEB IGOREVICH VASILCHENKO, IRINA VIKTOROVNA

KAVERZINA, and VLADIMIR VENKOV shall forfeit to the United States any property, real or

personal, which constitutes or is derived from proceeds traceable to the offense(s) of conviction.

Notice is further given that, upon conviction, the United States intends to seek a judgment against

each Defendant for a sum of money representing the property described in this paragraph, as

applicable to each Defendant (to be offset by the forfeiture of any specific property).

                                         Substitute Assets

99.   If any of the property described above as being subject to forfeiture, as a result of any act or

omission of any defendant --

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property that cannot be subdivided without

                       difficulty;




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it is the intent of the United States of America, pursuant to Title 18, United States Code, Section

982(b) and Title 28, United States Code, Section 2461(c), incorporating Title 21 , United States

Code, Section 853, to seek forfeiture of any other property of said Defendant.

                   (18 U.S.C. §§ 981(a)(l)(C) and 982; 28 U.S.C. § 2461(c))



                                                     Robert S. ~ e r, III      ,-
                                                     Special Counsel
                                                     U.S . Department of Justice


A TRUE BILL:




Foreperson

Date: February_, 2018




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